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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION
LA UNIÓN DEL PUEBLO ENTERO et al.

YV                                                                &DVH1R 5: 21-cv-844-FB
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.

                          MOTION FOR ADMISSION PRO HAC VICE

727+(+2125$%/(-8'*(2)6$,'&2857

                  Jessica M. Choi
       &RPHVQRZDSSOLFDQWKHUHLQDQG

PRYHVWKLV&RXUWWRJUDQWDGPLVVLRQWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI

7H[DVSURKDFYLFHWRUHSUHVHQW Plaintiffs LA UNIÓN DEL PUEBLO ENTERO, SOUTHWEST

VOTER REGISTRATION EDUCATION PROJECT, MEXICAN AMERICAN BAR

ASSOCIATION OF TEXAS, TEXAS HISPANICS ORGANIZED FOR POLITICAL

EDUCATION, JOLT ACTION, WILLIAM C. VELASQUEZ INSTITUTE, and FIEL

 HOUSTON INC.
LQWKLVFDVHDQGZRXOGUHVSHFWIXOO\VKRZWKH&RXUWDVIROORZV


               $SSOLFDQWLVDQDWWRUQH\DQGDPHPEHURIWKHODZILUP RUSUDFWLFHVXQGHUWKHQDPHRI

                 Fried, Frank, Harris, Shriver & Jacobson LLP                                 ZLWKRIILFHVDW

                 0DLOLQJDGGUHVV One New York Plaza

                 &LW\6WDWH=LS&RGH New York, New York 10004

                 7HOHSKRQH (212) 859-8000                                    )DFVLPLOH (212) 859-4000

                 (PDLO jessica.choi@friedfrank.com

               6LQFH      October 22, 2020                                    $SSOLFDQWKDVEHHQDQGSUHVHQWO\LVD

                 PHPEHURIDQGLQJRRGVWDQGLQJZLWKWKH%DURIWKH6WDWHRI New York                                              

                 $SSOLFDQW VEDUOLFHQVHQXPEHULV 5800313                                                                         
     Case 5:21-cv-00844-XR Document 6 Filed 09/03/21 Page 2 of 4

   $SSOLFDQWKDVEHHQDGPLWWHGWRSUDFWLFHEHIRUHWKHIROORZLQJFRXUWV

     &RXUW                                           $GPLVVLRQGDWH

      New York State                                  October 22, 2020




   $SSOLFDQWLVSUHVHQWO\DPHPEHULQJRRGVWDQGLQJRIWKHEDUVRIWKHFRXUWVOLVWHGDERYH

     H[FHSWDVSURYLGHGEHORZ OLVWDQ\FRXUWQDPHGLQWKHSUHFHGLQJSDUDJUDSKEHIRUHZKLFK

     $SSOLFDQWLVQRORQJHUDGPLWWHGWRSUDFWLFH 
     N/A




   ,KDYHKDYHQRWSUHYLRXVO\DSSOLHGWR$SSHDU3UR+DF9LFHLQWKLVGLVWULFW

     FRXUWLQ&DVH>V@

     1XPEHU                                RQWKHGD\RI                       

     1XPEHU                                RQWKHGD\RI                       

     1XPEHU                                RQWKHGD\RI                       

   $SSOLFDQWKDVQHYHUEHHQVXEMHFWWRJULHYDQFHSURFHHGLQJVRULQYROXQWDU\UHPRYDO

     SURFHHGLQJVZKLOHDPHPEHURIWKHEDURIDQ\VWDWHRUIHGHUDOFRXUWH[FHSWDV

     SURYLGHG
     N/A




   $SSOLFDQWKDVQRWEHHQFKDUJHGDUUHVWHGRUFRQYLFWHGRIDFULPLQDORIIHQVHRURIIHQVHV

     H[FHSWDVSURYLGHGEHORZ RPLWPLQRUWUDIILFRIIHQVHV 
     N/A
                Case 5:21-cv-00844-XR Document 6 Filed 09/03/21 Page 3 of 4

               $SSOLFDQWKDVUHDGDQGLVIDPLOLDUZLWKWKH/RFDO5XOHVRIWKH:HVWHUQ'LVWULFWRI7H[DV

                 DQGZLOOFRPSO\ZLWKWKHVWDQGDUGVRISUDFWLFHVHWRXWWKHUHLQ



               $SSOLFDQWZLOOILOHDQ$SSOLFDWLRQIRU$GPLVVLRQWR3UDFWLFHEHIRUHWKH8QLWHG6WDWHV

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                 FRFRXQVHOLQWKLVFDVHZKRLVDGPLWWHGWRSUDFWLFHEHIRUHWKH8QLWHG6WDWHV'LVWULFW

                 &RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV

                 &RFRXQVHO Nina Perales, Mexican American Legal Defense and Educational Fund

                 0DLOLQJDGGUHVV 110 Broadway, Suite 300

                 &LW\6WDWH=LS&RGH San Antonio, TX 78201

                 7HOHSKRQH (210) 845-5147


          6KRXOGWKH&RXUWJUDQWDSSOLFDQW VPRWLRQ$SSOLFDQWVKDOOWHQGHUWKHDPRXQWRISURKDF

YLFHIHHLQFRPSOLDQFHZLWK/RFDO&RXUW5XOH$7O I  >FKHFNVPDGHSD\DEOHWR&OHUN86'LVWULFW

&RXUW@

          :KHUHIRUH$SSOLFDQWSUD\VWKDWWKLV&RXUWHQWHUDQRUGHUSHUPLWWLQJWKHDGPLVVLRQRI

Jessica M. Choi                          WRWKH:HVWHUQ'LVWULFWRI7H[DVSURKDFYLFHIRUWKLVFDVHRQO\


                                                       5HVSHFWIXOO\VXEPLWWHG

                                                        Jessica M. Choi
                                                       >SULQWHGQDPHRI$SSOLFDQW@

                                                         /s/ Jessica M. Choi

                                                       >VLJQDWXUHRI$SSOLFDQW@
                      Case 5:21-cv-00844-XR Document 6 Filed 09/03/21 Page 4 of 4

                                                         CERTIFICATE OF SERVICE

           ,KHUHE\FHUWLI\WKDW,KDYHFDXVHGWREHVHUYHGDWUXHDQGFRUUHFWFRS\RIWKLVPRWLRQXSRQ

HDFKDWWRUQH\RIUHFRUGDQGWKHRULJLQDOXSRQWKH&OHUNRI&RXUWRQWKLVWKHGD\
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     September
RI   2021
                                        
                                                                     Jessica M. Choi
                                                                    >SULQWHGQDPHRI$SSOLFDQW@
                                                                    /s/ Jessica M. Choi

                                                                    >VLJQDWXUHRI$SSOLFDQW@
